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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                     Chapter 11

    FURIE OPERATING ALASKA, LLC, et al.,1                      Case No. 19-11781 (LSS)

                             Debtors.                          (Jointly Administered)


                       FIRST AMENDED2 NOTICE REGARDING
                  EXECUTORY CONTRACTS AND UNEXPIRED LEASES
              TO BE ASSUMED BY THE DEBTORS PURSUANT TO THE PLAN

        PLEASE TAKE NOTICE that on May 6, 2020, the Debtors filed The Second Amended
Joint Plan of Reorganization for the Debtors Under Chapter 11 of the Bankruptcy Code [Docket
No. 754] (as it may be amended, modified, or supplemented from time to time, the “Plan”) and (b)
Second Amended Disclosure Statement for the Second Amended Joint Plan of Reorganization for
the Debtors Under Chapter 11 of the Bankruptcy Code [Docket No. 755] (as it may be amended,
modified, or supplemented from time to time, the “Disclosure Statement”). On May 8, 2020, the
Bankruptcy Court entered an order (a) approving the Disclosure Statement; (b) establishing the
voting record date, voting deadline, and other dates; (c) approving procedures for soliciting,
receiving, and tabulating votes on Plan and for filing objections to Plan; (d) approving manner and
forms of notice and other related documents; and (e) granting related relief [Docket No. 761] (the
“Disclosure Statement Order”).3

        PLEASE TAKE FURTHER NOTICE that, under the Plan, the Debtors are proposing to
assume the Executory Contract(s) and Unexpired Lease(s) on Schedule 1 hereto to which you are
a party.4

        PLEASE TAKE FURTHER NOTICE that section 365(b)(1) of the Bankruptcy Code
requires a chapter 11 debtor to cure, or provide adequate assurance that it will promptly cure, any
defaults and to provide adequate assurance of future performance under executory contracts and

1
 The Debtors, together with the last four digits of each Debtor's federal tax identification number, are: Furie Operating
Alaska, LLC (8721); Cornucopia Oil & Gas Company, LLC (9914); and Corsair Oil & Gas LLC (8012). The location
of the Debtors' corporate headquarters and the service address for all Debtors is 188 W. Northern Lights Blvd. Suite
620, Anchorage, Alaska 99503.
2
  This First Amended Notice was filed to add Contract No. B-36 (Firm and Interruptible Gas Sale and Purchase
Agreement dated as of March 3, 2017, between Furie Operating Alaska, LLC and Chugach Electric Association, Inc.)
to Schedule 1 hereto.
3
  Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
Disclosure Statement Order or the Plan, as applicable.
4
 The Debtors expressly reserve the right to (a) remove any Executory Contract or Unexpired Lease from this Notice
and reject such Executory Contract or Unexpired Lease pursuant to the terms of the Plan up until the Effective Date
and (b) contest any Claim asserted in connection with assumption of any Executory Contract or Unexpired Lease.
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unexpired leases at the time of assumption. The Debtors have conducted a thorough review of
their books and records and have determined the amounts required to cure defaults, if any, under
the Executory Contract(s) and Unexpired Lease(s) to which you are a party, which amounts (the
“Cure Obligations”) are listed on Schedule 1. Please note that if zero is stated for a particular
Executory Contract or Unexpired Lease, the Debtors believe that there is no Cure Obligation
outstanding for such contract or lease.

       PLEASE TAKE FURTHER NOTICE that objections, if any, to the proposed
assumption of the above Executory Contract(s) or Unexpired Lease(s), the Cure Obligation, or to
adequate assurance of further performance (an “Assumption Objection”) must be filed with the
Bankruptcy Court and served (which service may be through the CM/ECF system, with courtesy
copies by email) on the Debtors’ undersigned counsel no later than June 5, 2020 (the “Assumption
Objection Deadline”).

        PLEASE TAKE FURTHER NOTICE that if you fail to object timely to the proposed
assumption by the Assumption Objection Deadline, you will be deemed to have assented to such
assumption or Cure Obligation. Under the Plan, the assumption of any Executory Contract or
Unexpired Lease pursuant to the Plan or otherwise shall result in the full release and
satisfaction of any claims against or defaults by the Debtors, whether monetary or
nonmonetary, including defaults of provisions restricting the change in control or ownership
interest composition or other bankruptcy-related defaults, arising under any assumed
Executory Contract or Unexpired Lease at any time before the date the Debtors assume such
Executory Contract or Unexpired Lease.

        PLEASE TAKE FURTHER NOTICE that the Debtors shall have the right to amend or
supplement the Contract Assumption Schedule by, among other things, removing or adding
Executory Contracts or Unexpired Leases at any time, provided that in the event of any such
amendment of supplement, the affected counterparty shall have no less than fourteen (14) days
after service on such counterparty of notice of such amendment or supplement to respond to such
amendment or supplement.

        PLEASE TAKE FURTHER NOTICE that if you file an Assumption Objection and you
and the Debtors are not able to settle or resolve the Assumption Objection, the Bankruptcy Court
shall determine the amount of any disputed Cure Obligation(s) or objection to assumption at the
hearing to consider confirmation of the Plan (the “Confirmation Hearing”) or such other hearing
date to which the parties may mutually agree or as ordered by the Bankruptcy Court. The
Confirmation Hearing will commence on June 11, 2020, at 11:00 a.m. prevailing Eastern Time,
before the Honorable Laurie S. Silverstein, United States Bankruptcy Judge, at the United States
Bankruptcy Court for the District of Delaware, 824 North Market Street, 6th Floor, Courtroom
No. 2, Wilmington, Delaware 19801.

       PLEASE TAKE FURTHER NOTICE that, if you have not received a copy of the Plan
or the Disclosure Statement and wish to receive copies of the same, or a copy of the Disclosure
Statement Order, related notices and other documents, you may contact the Debtors’ Claims and
Noticing Agent by: (a) calling the Debtors’ restructuring hotline at (844) 236-3904 or (b) writing
to Prime Clerk at Furie Operating Alaska Ballot Processing, c/o Prime Clerk, One Grand Central
Place, 60 East 42nd Street, Suite 1440, New York, NY 10165, or via email at

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furieballots@primeclerk.com. You may also obtain copies of any pleadings filed in the Chapter
11 Cases for a fee via PACER at: http://www.deb.uscourts.gov or free of charge at
https://cases.primeclerk.com/furieoperatingalaska, by clicking on the link to Plan and Disclosure
Statement.

     PLEASE TAKE FURTHER NOTICE THAT YOU ARE RECEIVING THIS NOTICE
BECAUSE THE DEBTORS’ RECORDS REFLECT THAT YOU ARE A PARTY TO AN
EXECUTORY CONTRACT OR UNEXPIRED LEASE THAT WILL BE ASSUMED
PURSUANT TO THE PLAN.

YOU ARE ADVISED TO REVIEW CAREFULLY THE INFORMATION CONTAINED
     IN THIS NOTICE AND THE RELATED PROVISIONS OF THE PLAN.

 NO PERSON, INCLUDING PRIME CLERK, HAS BEEN AUTHORIZED TO GIVE
      ANY ADVICE, INCLUDING LEGAL ADVICE, OR TO MAKE ANY
REPRESENTATION REGARDING THE DEBTORS OR THE PLAN. YOU MAY WISH
           TO CONSULT AN ATTORNEY FOR LEGAL ADVICE.
Dated: May 15. 2020
       Wilmington, Delaware
                                            WOMBLE BOND DICKINSON (US) LLP

                                            /s/    Ericka F. Johnson
                                            Matthew P. Ward (DE Bar No. 4471)
                                            Ericka F. Johnson (DE Bar No. 5024)
                                            1313 North Market Street, Suite 1200
                                            Wilmington, Delaware 19801
                                            Telephone:    (302) 252-4320
                                            Facsimile:    (302) 252-4330
                                            Email:        matthew.ward@wbd-us.com
                                                           ericka.johnson@wbd-us.com

                                            -and-

                                            MCDERMOTT WILL & EMERY LLP

                                            Timothy W. Walsh (admitted pro hac vice)
                                            Riley T. Orloff (admitted pro hac vice)
                                            340 Madison Avenue
                                            New York, New York 10173-1922
                                            Telephone:     (212) 547-5400
                                            Facsimile:     (212) 547-5444
                                            Email:         twwalsh@mwe.com
                                                           rorloff@mwe.com

                                            Counsel to the Debtors and Debtors in Possession


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                                            Schedule 1

                List of Assumed Executory Contracts and Unexpired Leases

For the avoidance of doubt, the Debtors or the Reorganized Debtors, as applicable, reserve the
right to alter, amend, modify or supplement the list of assumed Executory Contract and Unexpired
Leases in accordance with the Plan, including, without limitation, pursuant to Article V of the
Plan, which provides that:

                                  ARTICLE V
                      TREATMENT OF EXECUTORY CONTRACTS
                            AND UNEXPIRED LEASES

A.     Assumption and Rejection of Executory Contracts and Unexpired Leases

       On the Effective Date, except as otherwise provided in the Plan, each Executory
       Contract and Unexpired Lease not previously rejected, assumed, or assumed and
       assigned, including, without limitation, any employee benefit plans, severance
       plans, and other Executory Contracts under which employee obligations arise, shall
       be deemed automatically rejected pursuant to sections 365 and 1123 of the
       Bankruptcy Code, unless such Executory Contract or Unexpired Lease: (1) is
       specifically described in the Plan as to be assumed or assumed and assigned in
       connection with confirmation of the Plan, or is specifically scheduled on the
       Assumed Contracts and Leases List to be assumed or assumed and assigned (as
       specified on such list) pursuant to the Plan or the Plan Supplement; (2) is subject to
       a pending motion to assume such Unexpired Lease or Executory Contract as of the
       Effective Date; or (3) is a contract, instrument, release, indenture, or other
       agreement or document entered into in connection with the Plan.

       Unless otherwise indicated, assumptions or rejections of Executory Contracts and
       Unexpired Leases pursuant to the Plan or the Acquisition Documents are effective
       as of the Effective Date. Any motions to assume Executory Contracts or Unexpired
       Leases pending on the Effective Date shall be subject to approval by a Final Order
       of the Bankruptcy Court on or after the Effective Date. Notwithstanding anything
       to the contrary in the Plan, at the direction or with the consent of the Acquirer, and
       in accordance with the Acquisition by Foreclosure Agreement, the Acquirer (i) may
       elect to have the Debtors reject any Key Contract at any time prior to the Effective
       Date, and (ii) shall have the right to alter, amend, modify, or supplement the
       Assumed Contracts and Leases List identified in Article V.A of the Plan and in the
       Plan Supplement at any time through and including 45 days after the Effective Date.




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Contract                                                                                                                                            Effective
  No.        Debtor(s) Party to Contract                   Name of Counterparty                                  Title of Contract                    Date      Cure Amount
  A-1    Furie Operating Alaska, LLC         ACS Long Distance; ACS Internet LLC d/b/a       Business Services Agreement                           5/15/2015           $0.00
                                             Alaska Communications
 A-2     Furie Operating Alaska, LLC         AIM Alaska LLC                                  Service Order and Storage Agreement                   1/30/2018           $0.00
 A-3     Furie Operating Alaska, LLC         Air Pollution Testing Inc                       Master Service Agreement                              11/7/2017           $0.00
 A-4     Furie Operating Alaska, LLC         Alaska Pipeline Company                         Amendment No. 2 to Gas Sales Agreement                4/25/2019           $0.00
 A-5     Furie Operating Alaska, LLC         Alaska Pipeline Company                         Gas Sales Agreement                                   2/26/2016           $0.00
 A-6     Furie Operating Alaska, LLC         Alaska Pipeline Company                         Amendment to Gas Sales Agreement                      9/13/2017           $0.00
 A-7     Furie Operating Alaska, LLC         Alaska Pipeline Company                         Letter Agreement Regarding                            7/12/2018           $0.00
 A-8     Furie Operating Alaska, LLC         Alaska Pipeline Company                         Amendment No. 3 to Gas Sales Agreement                2/13/2020           $0.00
 A-9     Furie Operating Alaska, LLC         Alaskan Seismic Ventures                        License Agreement for 3D Seismic Data                 5/29/2015           $0.00
 A-10    Furie Operating Alaska, LLC         Alaskan Seismic Ventures                        Pre Subscription Agreement                            5/29/2015           $0.00
 A-11    Furie Operating Alaska, LLC         Alaskan Seismic Ventures                        Pre Subscription Agreement                            5/29/2015           $0.00
 A-12    Furie Operating Alaska, LLC;        Alaskan Seismic Ventures LLC                    Consent to Collateral Assignment                      7/27/2015           $0.00
         Cornucopia Oil & Gas Company, LLC

 A-13    Furie Operating Alaska, LLC         Alaskan Seismic Ventures LLC                    Pre-Subscription Agreement                            7/27/2015           $0.00
 A-14    Furie Operating Alaska, LLC         American Petroleum Tankers LLC                  CISPRI Services Limited Liability Company Agreement   12/15/2015          $0.00

 A-15    Furie Operating Alaska, LLC         American Petroleum Tankers LLC                  CISPRI Partners Amended Partnership Agreement         12/6/2012           $0.00
 A-16    Furie Operating Alaska, LLC         Apache Alaska Corporation                       CISPRI Services Limited Liability Company Agreement   12/15/2015          $0.00

 A-17    Furie Operating Alaska, LLC         Apache Alaska Corporation                       CISPRI Partners Amended Partnership Agreement         12/6/2012           $0.00
 A-18    Furie Operating Alaska, LLC         Aspen Specialty Insurance Company               Environmental Insurance Policy No. ERA9L4H19          4/11/2019           $0.00
 A-19    Furie Operating Alaska, LLC         ASRC Energy Services Alaska Inc                 Master Service Agreement                              1/25/2017           $0.00
 A-20    Furie Operating Alaska, LLC         ASRC Energy Services E & P Technology Inc       Master Service Agreement                               1/25/2017          $0.00
 A-21    Furie Operating Alaska, LLC         Aurora Gas LLC                                  CISPRI Services Limited Liability Company Agreement   12/15/2015          $0.00

 A-22    Furie Operating Alaska, LLC         Aurora Gas LLC                                  CISPRI Partners Amended Partnership Agreement         12/6/2012           $0.00
 A-23    Furie Operating Alaska, LLC         Berkshire Hathaway Homestate Insurance Co.      Automobile Insurance Policy No. 02APM0173401          6/18/2018           $0.00

 A-24    Furie Operating Alaska, LLC         Blue Cross Blue Shield of Texas                 Group Managed Health Care and Pharmacy Benefits          N/A              $0.00
                                                                                             Contracty
 A-25    Furie Operating Alaska, LLC         BlueCrest Alaska Operating LLC                  CISPRI Services Limited Liability Company Agreement   12/15/2015          $0.00

 A-26    Furie Operating Alaska, LLC         BOS Solutions Inc                               Master Service Agreement                              5/29/2018           $0.00
 A-27    Furie Operating Alaska, LLC         Buccaneer Alaska Operations LLC                 CISPRI Partners Amended Partnership Agreement         12/6/2012           $0.00
 A-28    Furie Operating Alaska, LLC         C&D Production Specialist Co Inc                Master Service Agreement                              3/18/2014           $0.00
 A-29    Furie Operating Alaska, LLC         Cameron International Corporation               Master Service Agreement Modification No. 1           5/30/2013           $0.00
 A-30    Furie Operating Alaska, LLC         Cameron International Corporation               Master Service Agreement                              8/19/2011           $0.00
 A-31    Furie Operating Alaska, LLC         CISPRI Services LLC                             CISPRI Services Limited Liability Company Agreement   12/15/2015          $0.00

 A-32    Furie Operating Alaska, LLC         Coffman Engineers Inc                           Master Service Agreement                               6/22/2016          $0.00
 A-33    Furie Operating Alaska, LLC         Command Performance LLC                         Master Service Agreement                               1/25/2016          $0.00
 A-34    Furie Operating Alaska, LLC         ConocoPhillips Alaska Inc                       CISPRI Services Limited Liability Company Agreement   12/15/2015          $0.00

 A-35    Furie Operating Alaska, LLC         ConocoPhillips Alaska Inc                       CISPRI Partners Amended Partnership Agreement          12/6/2012          $0.00
 A-36    Furie Operating Alaska, LLC         Cook Inlet Energy LLC                           CISPRI Services Limited Liability Company Agreement   12/15/2015          $0.00

 A-37    Furie Operating Alaska, LLC         Cook Inlet Energy LLC                           CISPRI Partners Amended Partnership Agreement         12/6/2012           $0.00
 A-38    Furie Operating Alaska, LLC         Cook Inlet Natural Gas Storage Alaska LLC       Interruptible Storage Service Agreement               8/31/2015           $0.00
 A-39    Furie Operating Alaska, LLC         Cook Inlet Regional Citizens Advisory Council   Agreement for Funding                                 7/1/2015            $0.00

 A-40    Furie Operating Alaska, LLC         Cook Inlet Spill Prevention and Response Inc    CISPRI Partners Amended Partnership Agreement         12/6/2012           $0.00
 A-41    Furie Operating Alaska, LLC         Cook Inlet Spill Prevention and Response Inc    Response Action Contract                               1/3/2012           $0.00
 A-42    Furie Operating Alaska, LLC         Cook Inlet Spill Prevention and Response Inc    Marine Services Contract                              6/16/2014           $0.00
 A-43    Furie Operating Alaska, LLC         Cosmo Oil of USA Inc                            CISPRI Services Limited Liability Company Agreement   12/15/2015          $0.00

 A-44    Furie Operating Alaska, LLC         Cosmo Oil of USA Inc                            CISPRI Partners Amended Partnership Agreement          12/6/2012          $0.00
 A-45    Furie Operating Alaska, LLC         Cruz Construction Inc                           Master Service Agreement                               6/10/2014          $0.00
 A-46    Furie Operating Alaska, LLC         Danny S. Davis                                  Ownership Conveyance Agreement                         6/29/2011          $0.00
 A-47    Furie Operating Alaska, LLC         Danny S. Davis                                  Letter Agreement                                      6/29/2011           $0.00
 A-48    Furie Operating Alaska, LLC         Danny S. Davis                                  Letter Re: Working Interest Assignment                6/29/2011           $0.00
 A-49    Furie Operating Alaska, LLC         Danny S. Davis                                  Letter Agreement Working Interest Assignment          6/29/2011           $0.00
 A-50    Furie Operating Alaska, LLC         Danny S. Davis                                  Lease Transfer Agreement                              6/29/2011           $0.00
 A-51    Furie Operating Alaska, LLC         Danny S. Davis                                  Kitchen Unit Agreement                                12/11/2006          $0.00
 A-52    Furie Operating Alaska, LLC         Delta Western Inc                               CISPRI Services Limited Liability Company Agreement   12/15/2015          $0.00

 A-53    Furie Operating Alaska, LLC          Delta Western Inc                              CISPRI Partners Amended Partnership Agreement         12/6/2012           $0.00
 A-54    Furie Operating Alaska, LLC          Dowland-Bach Corporation                       Master Service Agreement                              2/26/2016           $0.00
 A-55    Furie Operating Alaska, LLC          Drilling Services of America Inc               Master Service Agreement                              1/10/2017           $0.00
 A-56    Furie Operating Alaska, LLC          Eaton Oil Tools Inc                            Master Service Agreement                              4/22/2019           $0.00
 A-57    Furie Operating Alaska, LLC          Emerald Alaska                                 Master Service Agreement                              5/18/2012           $0.00
 A-58    Furie Operating Alaska, LLC; Corsair Energy Capital Partners Mezzanine              JOA Operator Appointment Letter                       7/15/2014           $0.00
         Oil & Gas LLC; Cornucopia Oil & Gas Opportunities Fund A, LP
         Company, LLC

 A-59    Furie Operating Alaska, LLC         Exploitation Technologies LLC                   Contractor Service Agreement                          11/20/2015          $0.00
 A-60    Furie Operating Alaska, LLC         Expro Americas LLC                              Master Service Agreement                               9/13/2012          $0.00
 A-61    Furie Operating Alaska, LLC         FireStar Oilfield Services                      Master Service Agreement                               7/31/2015          $0.00
 A-62    Furie Operating Alaska, LLC         Flint Hills Resources Alaska LLC                CISPRI Services Limited Liability Company Agreement   12/15/2015          $0.00

 A-63    Furie Operating Alaska, LLC         Flint Hills Resources Alaska LLC                CISPRI Partners Amended Partnership Agreement         12/6/2012           $0.00
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A-64    Furie Operating Alaska, LLC         Fugro Chance Inc; Fugro GeoServices Inc; Fugro-    Master Service Agreement                                  4/11/2012     $0.00
                                            McClelland Marine Geosciences Inc
A-65    Furie Operating Alaska, LLC         GCI Communication                                  Master Service Agreement                                  5/6/2013      $0.00
A-66    Furie Operating Alaska, LLC         GCI Communication                                  Master Service Agreement Modification No. 1               6/5/2013      $0.00
A-67    Furie Operating Alaska, LLC         Geoservices Inc                                    Master Service Agreement Modification No. 1               7/17/2013     $0.00
A-68    Furie Operating Alaska, LLC         Global Diving & Salvage Inc                        Master Services Agreement Modification No. 1              3/18/2013     $0.00
A-69    Furie Operating Alaska, LLC         Global Diving & Salvage Inc                        Master Services Agreement                                 6/14/2011     $0.00
A-70    Furie Operating Alaska, LLC         Gyrodata Inc                                       Master Service Agreement                                  1/5/2015      $0.00
A-71    Furie Operating Alaska, LLC         Halliburton Energy Services Inc                    Master Service Agreement Modification No. 1               9/10/2013     $0.00
A-72    Furie Operating Alaska, LLC         Halliburton Energy Services Inc                    Master Service Agreement                                  5/23/2011     $0.00
A-73    Furie Operating Alaska, LLC         Hanover Insurance Company                          Office Contents Insurance Policy No. RHD A 16286005      11/26/2018     $0.00

A-74    Furie Operating Alaska, LLC         Hilcorp Alaska LLC                                 CISPRI Services Limited Liability Company Agreement      12/15/2015     $0.00

A-75    Furie Operating Alaska, LLC         Hilcorp Alaska LLC                                 CISPRI Partners Amended Partnership Agreement            12/6/2012      $0.00
A-76    Furie Operating Alaska, LLC         Hilcorp Alaska LLC                                 KGF Grind and Inject Facility User Agreement             12/1/2016      $0.00
A-77    Furie Operating Alaska, LLC         Industrial & Oilfield Services Inc                 Master Service Agreement                                  8/3/2015      $0.00
A-78    Furie Operating Alaska, LLC         Jacobs Technology Inc                              Master Service Agreement                                  5/2/2017      $0.00
A-79    Furie Operating Alaska, LLC         Kenai Beluga Pipeline LLC                          Transportation Agreement                                 11/11/2015     $0.00
A-80    Furie Operating Alaska, LLC         Kenai Beluga Pipeline LLC                          Facilities Connection and Reimbursement Agreement        3/30/2015      $0.00

A-81    Furie Operating Alaska, LLC         Kenai Beluga Pipeline LLC                          Operational Balancing Agreement                            11/10/2015   $0.00
A-82    Furie Operating Alaska, LLC         Lawrence Berry                                     Ownership Conveyance Agreement                             6/29/2011    $0.00
A-83    Furie Operating Alaska, LLC         Lawrence Berry                                     Letter Agreement                                           6/29/2011    $0.00
A-84    Furie Operating Alaska, LLC         Lawrence Berry                                     Letter Re: Working Interest Assignment                     6/29/2011    $0.00
A-85    Furie Operating Alaska, LLC         Lawrence Berry                                     Letter Agreement Working Interest Assignment               6/29/2011    $0.00
A-86    Furie Operating Alaska, LLC         Lawrence Berry                                     Lease Transfer Agreement                                    6/29/2011   $0.00
A-87    Furie Operating Alaska, LLC         Lloyds of London Syndicate #1183                   CGL Insurance Policy No. 19CGLH12218                        4/11/2019   $0.00
A-88    Furie Operating Alaska, LLC         Lloyds of London Syndicate #1183                   Excess Liability Insurance Policy No. 19XS1H12219           4/11/2019   $0.00
A-89    Furie Operating Alaska, LLC         Lloyds of London Syndicate #1183                   Excess Liability Insurance Policy No. MS-S 6052             4/11/2019   $0.00
A-90    Furie Operating Alaska, LLC         Lloyds of London Syndicate #1183                   Excess Liability Insurance Policy No. MS-S 6053             4/11/2019   $0.00
A-91    Furie Operating Alaska, LLC         Lloyds of London Syndicate #1183                   Oil Pollution Insurance Policy No. MS-S 6054                4/11/2019   $0.00
A-92    Furie Operating Alaska, LLC         Lloyds of London Syndicate #1183                   Charterer's Legal Liability Insurance Policy No. MS-S 6055 4/11/2019    $0.00

A-93    Furie Operating Alaska, LLC         Lloyds of London Syndicate #1183                   Cargo Insurance Policy No. MS-S 6110                      4/11/2019     $0.00
A-94    Furie Operating Alaska, LLC         Lloyds of London Syndicate #1183                   Energy Package Insurance Policy No. JHBCJP2316            4/11/2019     $0.00
A-95    Furie Operating Alaska, LLC         Lloyd's Register Drilling Integrity Services Inc   Master Service Agreement                                  5/18/2018     $0.00

A-96    Furie Operating Alaska, LLC         LMJ Consulting                                Master Service Agreement                                       4/10/2013     $0.00
A-97    Furie Operating Alaska, LLC         M&H Enterprises Inc d/b/a H&H Energy Services Master Service Agreement                                       8/28/2013     $0.00

A-98    Furie Operating Alaska, LLC         MagTec Alaska LLC                                  Amendment No. 1                                           4/29/2018     $0.00
A-99    Furie Operating Alaska, LLC         MagTec Alaska LLC                                  Master Service Agreement                                  4/29/2018     $0.00
A-100   Furie Operating Alaska, LLC         Marathon Alaska Production LLC                     CISPRI Partners Amended Partnership Agreement             12/6/2012     $0.00
A-101   Furie Operating Alaska, LLC         Maritime Helicopters                               Master Service Agreement Modification No. 1               9/11/2013     $0.00
A-102   Furie Operating Alaska, LLC         Maritime Helicopters                               Master Service Agreement                                  8/11/2011     $0.00
A-103   Furie Operating Alaska, LLC         Matanuska Electric Association, Inc.               Interruptible Gas Sale & Purchase Agreement               8/20/2019     $0.00
A-104   Furie Operating Alaska, LLC         McLane Consulting Inc                              Master Service Agreement                                  7/29/2013     $0.00
A-105   Furie Operating Alaska, LLC         M-I LLC                                            Master Service Agreement Modification No. 1               7/17/2013     $0.00
A-106   Furie Operating Alaska, LLC         NC Machinery Co                                    Master Service Agreement                                  6/14/2017     $0.00
A-107   Furie Operating Alaska, LLC         NRC Alaska LLC                                     Amendment No. 1 Master Service Agreement                  7/10/2018     $0.00
A-108   Furie Operating Alaska, LLC         O'Brien's Response Management LLC                  Services Agreement                                        6/15/2018     $0.00
A-109   Furie Operating Alaska, LLC         Ocean Marine Services LLC                          Consent to Collateral Assignment                          6/4/2018      $0.00
A-110   Furie Operating Alaska, LLC         Ocean Marine Services LLC                          Consent to Collateral Assignment                          6/4/2018      $0.00
A-111   Furie Operating Alaska, LLC         Ocean Marine Services LLC                          Time Charter Party for Offshore Service Vessels           6/1/2018      $0.00
A-112   Furie Operating Alaska, LLC         Ocean Marine Services LLC                          Time Charter Party for Offshore Service Vessels            6/1/2018     $0.00
A-113   Furie Operating Alaska, LLC         Offshore Energy Services Inc                       Master Service Agreement                                  5/13/2014     $0.00
A-114   Furie Operating Alaska, LLC         Offshore Systems Kenai                             Lease Agreement                                            5/1/2015     $0.00
A-115   Furie Operating Alaska, LLC         Offshore Systems Kenai                             Facility Access/Use Agreement                             5/22/2018     $0.00
A-116   Furie Operating Alaska, LLC         Pacific Energy Alaska Operating LLC                Memorandum of Assignments and Farmout Letter              3/10/2009     $0.00
                                                                                               Agreement
A-117   Furie Operating Alaska, LLC         Pacific Energy Alaska Operating LLC                Assignment of Interest in Oil & Gas Lease                 2/18/2009     $0.00
A-118   Furie Operating Alaska, LLC         Pacific Energy Alaska Operating LLC                Assignment of Interest in Oil & Gas Lease                 2/18/2009     $0.00
A-119   Furie Operating Alaska, LLC         Pacific Energy Alaska Operating LLC                Farmout Letter Agreement (a memorandum of which           2/11/2009     $0.00
                                                                                               was recorded on March 19, 2009 in the Anchorage
                                                                                               Recording District as Doc. No. 2009-017350-0, and on
                                                                                               March 23, 2009 in the Kenai Recording District as Doc.
                                                                                               No 2009-002662-0)
A-120   Furie Operating Alaska, LLC         Pacific Energy Resources Ltd                       Memorandum of Assignments and Farmout Letter              3/10/2009     $0.00
                                                                                               Agreement
A-121   Furie Operating Alaska, LLC         Pacific Energy Resources Ltd.                      Farmout Letter Agreement (a memorandum of which           2/11/2009     $0.00
                                                                                               was recorded on March 19, 2009 in the Anchorage
                                                                                               Recording District as Doc. No. 2009-017350-0, and on
                                                                                               March 23, 2009 in the Kenai Recording District as Doc.
                                                                                               No 2009-002662-0)
A-122   Furie Operating Alaska, LLC          Peak Oilfield Service Company LLC                 Master Service Agreement                                  9/28/2012     $0.00
A-123   Furie Operating Alaska, LLC; Corsair Petrotechnical Resources of Alaska LLC            Master Service Agreement                                  4/10/2018     $0.00
        Oil & Gas LLC
A-124   Furie Operating Alaska, LLC          Pollard E Line Services                           Master Service Agreement                                  5/30/2018     $0.00
A-125   Furie Operating Alaska, LLC          Pollard Wireline Inc                              Master Service Agreement                                  4/10/2013     $0.00
A-126   Furie Operating Alaska, LLC          Principal Financial Group                         Group Dental Contracted Network Insurance                    N/A        $0.00
A-127   Furie Operating Alaska, LLC          Principal Financial Group                         Group Member Life Insurance                                  N/A        $0.00
A-128   Furie Operating Alaska, LLC          Principal Financial Group                         Group Long Term Disability Insurance                         N/A        $0.00
A-129   Furie Operating Alaska, LLC          Principal Financial Group                         Group Short Term Disability Insurance                        N/A        $0.00
A-130   Furie Operating Alaska, LLC          Principal Financial Group                         Group Vision Care Expense Insurance                          N/A        $0.00
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A-131   Cornucopia Oil & Gas Company, LLC Production Testing Services Inc                  Master Service Agreement                                 2/3/2017          $0.00

A-132   Furie Operating Alaska, LLC       Ruby Investments Inc                             Office Lease Agreement                                  11/1/2016    $ 11,721.83
A-133   Furie Operating Alaska, LLC       Ryder Scott Company LP                           Letter Agreement                                        11/6/2018           $0.00
A-134   Furie Operating Alaska, LLC       Safeway Services                                 Master Service Agreement                                8/5/2015            $0.00
A-135   Furie Operating Alaska, LLC       Schlumberger Technology Corporation              Master Service Agreement Modification No. 1             7/17/2013           $0.00
A-136   Furie Operating Alaska, LLC       Schlumberger Technology Corporation              Master Service Agreement                                6/9/2011            $0.00
A-137   Furie Operating Alaska, LLC       Sierra Hamilton LLC                              Master Service Agreement                                5/21/2018           $0.00
A-138   Furie Operating Alaska, LLC       SolstenXP Inc                                    Master Service Agreement                                2/10/2015           $0.00
A-139   Cornucopia Oil & Gas Company, LLC State of Alaska Department of Law                Closing Agreement                                       4/12/2019           $0.00

A-140   Furie Operating Alaska, LLC        State of Alaska Department of Natural Resources Kitchen Unit Agreement                                  12/11/2006         $0.00

A-141   Furie Operating Alaska, LLC        State of Alaska Department of Natural Resources Competitive Oil & Gas Lease - ADL No. 389189             2/1/2000          $0.00

A-142   Furie Operating Alaska, LLC        State of Alaska Department of Natural Resources Competitive Oil & Gas Lease - ADL No. 389190             2/1/2000          $0.00

A-143   Furie Operating Alaska, LLC        State of Alaska Department of Natural Resources Competitive Oil & Gas Lease - ADL No. 389191             2/1/2000          $0.00

A-144   Furie Operating Alaska, LLC        State of Alaska Department of Natural Resources Competitive Oil & Gas Lease - ADL No. 389192             2/1/2000          $0.00

A-145   Furie Operating Alaska, LLC        State of Alaska Department of Natural Resources Competitive Oil & Gas Lease - ADL No. 389193             2/1/2000          $0.00

A-146   Furie Operating Alaska, LLC        State of Alaska Department of Natural Resources Competitive Oil & Gas Lease - ADL No. 389196             2/1/2000          $0.00

A-147   Furie Operating Alaska, LLC        State of Alaska Department of Natural Resources Competitive Oil & Gas Lease - ADL No. 389197             2/1/2000          $0.00

A-148   Furie Operating Alaska, LLC        State of Alaska Department of Natural Resources Competitive Oil & Gas Lease - ADL No. 389198             2/1/2000          $0.00

A-149   Furie Operating Alaska, LLC        State of Alaska Department of Natural Resources Competitive Oil & Gas Lease - ADL No. 389507             5/1/2001          $0.00

A-150   Furie Operating Alaska, LLC        State of Alaska Department of Natural Resources Competitive Oil & Gas Lease - ADL No. 389513             5/1/2001          $0.00

A-151   Furie Operating Alaska, LLC        State of Alaska Department of Natural Resources Competitive Oil & Gas Lease - ADL No. 389514             5/1/2001          $0.00

A-152   Furie Operating Alaska, LLC        State of Alaska Department of Natural Resources Competitive Oil & Gas Lease - ADL No. 389515             5/1/2001          $0.00

A-153   Furie Operating Alaska, LLC        State of Alaska Department of Natural Resources Competitive Oil & Gas Lease - ADL No. 389914             1/1/2002          $0.00

A-154   Furie Operating Alaska, LLC        State of Alaska Department of Natural Resources Competitive Oil & Gas Lease - ADL No. 389915             1/1/2002          $0.00

A-155   Furie Operating Alaska, LLC        State of Alaska Department of Natural Resources Competitive Oil & Gas Lease - ADL No. 389917             1/1/2002          $0.00

A-156   Furie Operating Alaska, LLC        State of Alaska Department of Natural Resources Competitive Oil & Gas Lease - ADL No. 389918             1/1/2002          $0.00

A-157   Furie Operating Alaska, LLC        State of Alaska Department of Natural Resources Competitive Oil & Gas Lease - ADL No. 389919             1/1/2002          $0.00

A-158   Furie Operating Alaska, LLC        State of Alaska Department of Natural Resources Competitive Oil & Gas Lease - ADL No. 389923             1/1/2002          $0.00

A-159   Furie Operating Alaska, LLC        State of Alaska Department of Natural Resources Competitive Oil & Gas Lease - ADL No. 389924             1/1/2002          $0.00

A-160   Furie Operating Alaska, LLC        State of Alaska Department of Natural Resources Competitive Oil & Gas Lease - ADL No. 389925             1/1/2002          $0.00

A-161   Furie Operating Alaska, LLC        State of Alaska Department of Natural Resources Competitive Oil & Gas Lease - ADL No. 389926             1/1/2002          $0.00

A-162   Furie Operating Alaska, LLC        State of Alaska Department of Natural Resources Competitive Oil & Gas Lease - ADL No. 389927             1/1/2002          $0.00

A-163   Furie Operating Alaska, LLC        State of Alaska Department of Natural Resources Competitive Oil & Gas Lease - ADL No. 389928             1/1/2002          $0.00

A-164   Furie Operating Alaska, LLC        State of Alaska Department of Natural Resources Competitive Oil & Gas Lease - ADL No. 389929             1/1/2002          $0.00

A-165   Furie Operating Alaska, LLC        State of Alaska Department of Natural Resources Competitive Oil & Gas Lease - ADL No. 389930             1/1/2002          $0.00

A-166   Furie Operating Alaska, LLC        State of Alaska Department of Natural Resources Competitive Oil & Gas Lease - ADL No. 390374            10/1/2003          $0.00

A-167   Furie Operating Alaska, LLC        State of Alaska Department of Natural Resources Competitive Oil & Gas Lease - ADL No. 390381            10/1/2003          $0.00

A-168   Furie Operating Alaska, LLC        State of Alaska Department of Natural Resources Competitive Oil & Gas Lease - ADL No. 390548             6/1/2005          $0.00

A-169   Furie Operating Alaska, LLC        State of Alaska Department of Natural Resources Competitive Oil & Gas Lease - ADL No. 390554             6/1/2005          $0.00

A-170   Furie Operating Alaska, LLC        State of Alaska Department of Natural Resources Competitive Oil & Gas Lease - ADL No. 391106             1/1/2007          $0.00

A-171   Furie Operating Alaska, LLC        State of Alaska Department of Natural Resources Competitive Oil & Gas Lease - ADL No. 391598             3/1/2011          $0.00

A-172   Furie Operating Alaska, LLC        State of Alaska Department of Natural Resources Competitive Oil & Gas Lease - ADL No. 391599             3/1/2011          $0.00

A-173   Furie Operating Alaska, LLC        State of Alaska Department of Natural Resources Competitive Oil & Gas Lease - ADL No. 391603             3/1/2011          $0.00

A-174   Furie Operating Alaska, LLC        State of Alaska Department of Natural Resources Competitive Oil & Gas Lease - ADL No. 391604             3/1/2011          $0.00

A-175   Furie Operating Alaska, LLC        State of Alaska Department of Natural Resources Competitive Oil & Gas Lease - ADL No. 397607             3/1/2011          $0.00

A-176   Furie Operating Alaska, LLC        State of Alaska Department of Natural Resources Sixth Plan of Development for the Kitchen Lights Unit   12/11/2018         $0.00
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A-177   Furie Operating Alaska, LLC       State of Alaska Department of Natural Resources Plans of Operation for the Kitchen Lights Unit as                       $0.00
                                                                                          approved from time to time
A-178   Cornucopia Oil & Gas Company, LLC State of Alaska Department of Revenue           Closing Agreement                                          4/12/2019    $0.00

A-179   Furie Operating Alaska, LLC        Stokes & Spiehler Offshore Inc                   Master Service Agreement                                 8/30/2013    $0.00
A-180   Furie Operating Alaska, LLC        Superior Energy Services LLC                     Master Service Agreement                                 6/14/2017    $0.00
A-181   Furie Operating Alaska, LLC        Tailing International LLC                        Assignment and Assumption of Master Service              7/1/2016     $0.00
                                                                                            Agreement
A-182   Furie Operating Alaska, LLC        Tailing LLC                                      Assignment and Assumption of Master Service               7/1/2016    $0.00
                                                                                            Agreement
A-183   Furie Operating Alaska, LLC        Tailing LLC                                      Master Service Agreement                                  12/1/2015   $0.00
A-184   Furie Operating Alaska, LLC        Taylor Fire Protection Services LLC              Master Service Agreement                                   3/4/2016   $0.00
A-185   Furie Operating Alaska, LLC        Taylor Minerals LLC                              Side Letter Agreement                                    10/22/2010   $0.00
A-186   Furie Operating Alaska, LLC        Taylor Minerals LLC                              Lease Assignment and Participation Agreement             10/22/2010   $0.00
A-187   Furie Operating Alaska, LLC        Taylor Minerals LLC                              Operating Agreement Kitchen Lights Area                  10/21/2010   $0.00
A-188   Furie Operating Alaska, LLC        Taylor Minerals LLC                              Side Letter Agreement                                    10/22/2010   $0.00
A-189   Furie Operating Alaska, LLC        Taylor Minerals LLC                              Side Letter Agreement                                    10/22/2010   $0.00
A-190   Furie Operating Alaska, LLC        Taylor Minerals LLC                              Kitchen Unit Agreement                                   12/11/2006   $0.00
A-191   Furie Operating Alaska, LLC        Taylor Minerals LLC                              Operating Agreement                                      10/21/2010   $0.00
A-192   Furie Operating Alaska, LLC        Terrasond Limited                                Master Service Agreement                                  9/18/2013   $0.00
A-193   Furie Operating Alaska, LLC        Tesco Corporation (US)                           Master Service Agreement                                 5/29/2014    $0.00
A-194   Furie Operating Alaska, LLC        Tesoro Maritime Company                          CISPRI Services Limited Liability Company Agreement      12/15/2015   $0.00

A-195   Furie Operating Alaska, LLC        Tesoro Maritime Company                          CISPRI Partners Amended Partnership Agreement            12/6/2012    $0.00
A-196   Furie Operating Alaska, LLC        Total Safety US Inc                              Master Service Agreement Modification No. 1               6/6/2014    $0.00
A-197   Furie Operating Alaska, LLC        Total Safety US Inc                              Master Service Agreement                                 9/15/2011    $0.00
A-198   Furie Operating Alaska, LLC        TransMontaigne Product Services Inc              CISPRI Partners Amended Partnership Agreement             12/6/2012   $0.00
A-199   Furie Operating Alaska, LLC        Tripoint Alaska LLC                              Master Service Agreement                                  6/5/2018    $0.00
A-200   Furie Operating Alaska, LLC        Udelhoven Oilfield System Services Inc           Master Service Agreement                                 11/15/2016   $0.00
A-201   Furie Operating Alaska, LLC        Waters Petroleum, LLC (dba Waters Petroleum      Consulting Services Agreement                             7/24/2019   $0.00
                                           Advisors)
A-202   Furie Operating Alaska, LLC        Weaver Brothers Inc                              Tank Lease and Transport Agreement                       7/2/2018     $0.00
A-203   Furie Operating Alaska, LLC        Wild Well Control Inc                            Master Service Agreement                                 6/14/2016    $0.00
A-204   Furie Operating Alaska, LLC        Wolfepak Inc                                     License and Purchase Agreement                                        $0.00
A-205   Furie Operating Alaska, LLC        XTO Energy Inc                                   CISPRI Services Limited Liability Company Agreement      12/15/2015   $0.00

A-206   Furie Operating Alaska, LLC        XTO Energy Inc                                   CISPRI Partners Amended Partnership Agreement            12/6/2012    $0.00
B-36    Furie Operating Alaska, LLC        Chugach Electric Association Inc                 Firm and Interruptible Gas Sale and Purchase Agreement   3/3/2017     $0.00
